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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 V.                                                §           CASE NO.2:10-CR-5-4 (TJW-CE)
                                                   §
 ISACHAR MONCADA GUERRERO

               ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                         FINDING DEFENDANT GUILTY

        On this day, the Court considered the Findings of Fact and Recommendation of United States

 Magistrate Judge Charles Everingham IV regarding defendant’s plea of guilty and allocution to the

 third superseding indictment charging the defendant in Count 1 with a violation of 21 U.S.C. § 846,

 conspiracy to possess with intent to distribute heroin and cocaine. Having conducted a proceeding

 in the form and manner prescribed by FED . R. CRIM P. 11, the Magistrate Judge recommends that

 the Court accept the defendant’s guilty plea. The parties waived their right to file objections to the

 Findings of Fact and Recommendation. The Court is of the opinion that the Findings of Fact and

 Recommendation should be accepted.

        It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

 States Magistrate Judge, filed September 30, 2011, are hereby ADOPTED.

        It is further ORDERED that, pursuant to defendant’s plea agreement, the Court finds

 defendant GUILTY of Count 1 of the third superseding indictment in the above-numbered cause.
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      SIGNED this 30th day of September, 2011.



                                        __________________________________________
                                        T. JOHN WARD
                                        UNITED STATES DISTRICT JUDGE




                                           2
